                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA

    UNITED STATES OF AMERICA,

         Plaintiff,
                                                  Civ. No. 2:23-cv-735
         v.
                                                  Judge Barbier (Section: “J” (5))
    DENKA PERFORMANCE ELASTOMER,
    LLC, and DUPONT SPECIALTY
                                                  Magistrate Judge North
    PRODUCTS USA, LLC,

         Defendants.


                UNITED STATES’ MEMORANDUM SUPPORTING
        ITS MOTION TO REOPEN THIS CASE AND SET A STATUS HEARING

                                        INTRODUCTION

        Denka Performance Elastomer, LLC’s (“Denka’s”) reasons for holding this case in

abeyance until October 15, 2024 no longer exist, and this case is not moot. The company’s

LaPlace, Louisiana Neoprene manufacturing facility (the “Facility”) will not shut down on

October 15 because of the new pollution-control standards for Denka’s chloroprene emissions in

the Clean Air Act “Final Rule.” 1 Cf. Joint Status Report at 3 (ECF No. 177) (“DPE’s Proposes

[sic] to hold this case in abeyance until October 15 to determine whether the case has been

rendered moot”). The Fifth Circuit recently ordered the Environmental Protection Agency

(“EPA”) not to act inconsistently with the Louisiana Department of Environmental Quality’s

grant of an extension of the Final Rule’s October 15, 2024 compliance deadline pending a

resolution of Denka’s petition in that Circuit Court of Appeals. See Order, Doc. No. 57-2,




1
  New Source Performance Standards for the Synthetic Organic Chemical Manufacturing
Industry and National Emission Standards for Hazardous Air Pollutants for the Synthetic
Organic Chemical Manufacturing Industry and Group I & II Polymers and Resins Industry.
89 Fed. Reg. 42,932 (May 16, 2024).
Denka Performance Elastomer LLC et al. v. United States Environmental Prot. Agency et al.,

No. 24-60351 (5th Cir.). The Facility will therefore continue to spew its current, unacceptably

high levels of carcinogenic chloroprene emissions into the air that thousands of St. John the

Baptist Parish residents must regularly breathe. At the same time, Denka continues to press its

D.C. Circuit Court of Appeals litigation in an attempt to kill the Final Rule’s chloroprene

emission reduction requirements so that the company never has to comply with them. See, e.g.,

Denka’s Pet. for Review at 2, Doc. No. 2054934, Denka Performance Elastomer LLC v. United

States Environmental Prot. Agency et al., No. 24-1135 (D.C. Cir.). 2

       The United States therefore respectfully moves this Court to reopen this case and set a

status hearing on the United States’ renewed request to reset this matter for trial. See Joint

Status Report § I.A (ECF No. 177) (request to reset trial). The ever-accumulating, unacceptably

high lifetime cancer risks from Denka’s ongoing chloroprene emissions continue to present an

imminent and substantial endangerment to the public health and welfare of thousands of St. John

the Baptist Parish residents. See 42 U.S.C. § 7603. This endangerment must be abated.

                                             ARGUMENT

       I.      This Case Is Vital To Protecting the Public Health and Welfare
               of Thousands of Parish Residents.

       Unless Denka is ordered to reduce its chloroprene emissions – and until it complies with

the Final Rule – thousands of Parish residents will continue to be exposed to unacceptably high

excess risks of acquiring lung, liver, and other potentially fatal cancers during their lifetimes.

See United States’ Mem. Supp. Prelim. Inj. at 5-6 (ECF No. 9-2). Many factors and ample




2
  The D.C. Circuit has not yet set a briefing schedule. Proposed formats for the merits briefing
are due by September 19. See August 16, 2024 Order, Doc. No. 2070379, Denka Performance
Elastomer LLC v. United States Environmental Prot. Agency et al., No. 24-1135 (D.C. Cir.).


                                                  2
evidence support the need for immediate relief in this case. For example, urinalysis testing

confirms that chloroprene has entered the bodies of some Parish residents. See id. And

chloroprene concentrations – despite Denka’s emission reductions – remain multiples higher

than 0.2 μg/m3 in the communities surrounding the Facility. Exposure to these concentrations is

linked to excess cancer risks that are multiples higher than the EPA’s and other United States

regulatory agencies’ presumptive 1-in-10,000 upper threshold for so-called “acceptable” lifetime

excess cancer risk. Because the current airborne chloroprene concentrations remain higher than

0.2 μg/m3, a 1-in-10,000 cancer risk will be reached (and then exceeded) years, if not decades,

sooner than an assumed 70-year lifetime period. 3

       The speed at which chloroprene-related cancer risks accrue in infants and young children

is particularly alarming. See United States’ Mem. Supp. Prelim. Inj. at 25. Infants and young

children are especially susceptible to chloroprene’s cancer-causing potential because of its DNA-

damaging, “mutagenic” effects. See id. at 5. And roughly 400 pre-kindergarten through fourth

grade students recently started another school year at the Fifth Ward Elementary School, just

hundreds of feet away from the Facility’s western fenceline. 4



3
  Congress clearly intended endangerment statutes like 42 U.S.C. § 7603 to protect against
excessive cancer risk despite the inherent uncertainty of whether exposure will materialize into
diagnosable cancer. See, e.g., United States v. Reilly Tar & Chem. Corp., 546 F. Supp. 1100,
1110 (D. Minn.1982) (citing examples of substantial endangerments in the Safe Drinking Water
Act’s legislative history). Even a latent threat of developing cancer suffices. See id. At least
one court has noted, in dicta, that even a twenty-year latency period should not disqualify
Denka’s emissions as a near-term, imminent endangerment. See, e.g., Maine People’s All. and
Nat. Res. Def. Council v. Mallinckrodt, Inc., 471 F.3d 277, 279 n.1 (1st Cir. 2006) (even if there
is “a reasonable prospect that a carcinogen released into the environment today may cause cancer
twenty years hence, the threat is near-term even though the perceived harm will only occur in the
distant future”).
4
  See School Profile (“About Us”), Fifth Ward Elementary School (Sept. 3, 2024),
https://fwe.stjohn.k12.la.us/ (“Located in Reserve, Louisiana, Fifth Ward Elementary School
educates just over 400 students in pre-kindergarten through 4th grades”).


                                                3
       Denka can do more to reduce these cancer risks and abate the ongoing public health

endangerment its chloroprene emissions are causing. But Denka will not do more in advance of

meeting the Final Rule’s chloroprene emission standards – which Denka is actively seeking to

overturn – unless ordered to. Indeed, even with a potentially years-long extension of time to

comply with the Final Rule, Denka would not commit to complying with its requirements. See

Ex. A at 52, Tr. of July 17, 2024 Status Hr’g. This litigation should therefore resume.

       II.     The Facility’s History of Higher Emissions and Cancer Risks Does Not Erase
               the Ongoing Endangerment.

       This case was initiated after years of determined, but ultimately unsuccessful, efforts by

the EPA to try to convince Denka to sufficiently reduce its chloroprene emissions. It is true that

the Facility has been operating since the 1960s. But chloroprene’s carcinogenic potency and the

cancer risks facing Parish residents from Denka’s emissions were not fully understood until

roughly five decades later. See Sun Oil Co., 148 F.3d 606, 610 (6th Cir. 1998) (“[a]n ‘imminent

hazard’ may be declared at any point in a chain of events which may ultimately result in harm to

the public”); see also Interfaith Cmty. Org. v. Honeywell Int'l, Inc., 263 F. Supp. 2d 796, 837

(D.N.J. 2003), aff’d, 399 F.3d 248 (3d Cir. 2005) (“[i]mminence refers ‘to the nature of the threat

rather than identification of the time when the endangerment initially arose’”). The EPA’s 2010

Integrated Risk Information System assessment of chloroprene (the “2010 IRIS Assessment”) –

the current toxicological assessment of chloroprene’s carcinogenic potency – was not published

until September 2010. See United States’ Mem. Supp. Prelim. Inj. at 6. And air monitoring

sufficient to evaluate long-term average chloroprene concentrations in the communities

surrounding the Facility did not start until May 2016. See United States’ Opp’n to Denka’s

Mot. for Summ. J. at 17 (ECF No. 150). The EPA has taken strong, focused efforts to reduce

Denka’s chloroprene emissions since that time, including by filing this case. See id. at 16-19.



                                                 4
Indeed, Denka’s amended counterclaim is premised upon the EPA’s consistent efforts.

        III.    This Case Should Swiftly Proceed To Trial.

        The United States respectfully seeks an immediate status conference to set an expeditious

pretrial schedule and trial date.

        A. There is no need for a full briefing cycle on a new summary judgment motion.

        The United States requested a short sur reply to Denka’s summary judgment to make one

simple point: Denka’s primary argument in its summary judgment motion is now moot. The

EPA did not finalize the proposed compliance date in the proposed rule, which Denka’s primary

summary judgment argument is based upon. See Denka’s Mem. Supp. Mot. for Summ. J. at 5-8

(ECF No. 131-2). The EPA finalized 42 U.S.C. § 7412(f)(4)’s 90-day statutory default

compliance deadline for chloroprene emissions. Compare id. with 89 Fed. Reg. 42,932, 42,955

(May 16, 2024). Denka’s summary judgment argument about the implications of a proposed

waiver from complying with the 90-day compliance period is thus moot and no longer relevant.

See Gahagan v. U.S. Citizenship & Immigr. Servs., No. 14-1268, 2014 U.S. Dist. LEXIS 112910,

at *6 (E.D. La. Aug. 14, 2014) (denying plaintiff’s summary judgment motion after finding that

argument underlying motion was “moot”); see also Gray v. First Nat'l Bank, No. 89-794, 1990

U.S. Dist. LEXIS 14263, at *5 (E.D. La. Oct. 19, 1990) (same).

        There is therefore no need to start from scratch with a new months-long summary

judgment briefing cycle. Since this case was filed, there have been no developments regarding

Denka’s position that the cancer risks from its chloroprene emissions are not imminent and

substantial “as a matter of law” or that the current “inhalation unit risk estimate” for chloroprene

in the EPA’s 2010 IRIS Assessment was based on unsupported assumptions. See Denka’s

Mem. Supp. Mot. Summ. J. at 8, 22. Nor have there been developments in the complex, “hotly




                                                 5
disputed” scientific questions about whether Denka’s carcinogenic chloroprene emissions are

exposing Parish residents to an imminent and substantial endangerment. See United States’

Opp’n to Denka’s Mot. Summ. J. at 1 (ECF No. 150) (highlighting Denka’s repeated

representations to this Court that there is a “mass of material facts, nearly all of which are hotly

disputed” (citing ECF No. 25-3 at 1, ECF No. 28-3 at 1, ECF No. 29 at 2, ¶ 7, and ECF No. 92

¶¶ 2-4)). Denka’s self-proclaimed hotly disputed mass of material facts stemming from these

scientific questions continues to render summary judgment inappropriate. See Fed. R. Civ. P.

56(a).

         Denka has telegraphed that its new summary judgment briefing will only serve to raise

additional irrelevant issues, such as the Supreme Court’s ruling in Loper Bright Enters. v.

Raimondo, 144 S. Ct. 2244 (2024). See Joint Status Report at 8 (ECF No. 177). But the United

States has never raised the concept of Chevron deference in this case. Additional briefing from

Denka about Loper Bright is therefore irrelevant and will not help the Court decide the relevant

issues here.

         For these reasons, the United States believes that a very short sur reply and

commensurate response regarding Denka’s current summary judgment motion, as described in

Exhibit A to the July 10 Joint Status Report, will enable the Court to decide the relevant issues.

See Joint Status Report, Ex. A (ECF No. 177-1).

         B. There is no need for a third round of discovery, including third rounds of expert
            reports and third depositions of some of the same witnesses.

         “At some point, discovery must end...Otherwise, the case management process is

rendered meaningless.” Fucich Contracting, Inc. v. Shread-Kuyrkendall & Assocs., Inc., No.

CV 18-2885, 2021 WL 6196978, at *2 (E.D. La. Dec. 30, 2021) (citing Hughes v. Boston Sci.

Corp., 2009 WL 3031680, at *2 (S.D. Miss. Sept. 17, 2009)).



                                                  6
       Denka first sought its long-wished-for third round of discovery in late February. See

Proposed Order, Denka’s Mot. for Partial Am. of Scheduling Order (ECF No. 171-1). None of

the information Denka sought then is likely to be relevant to the central questions in this case:

the carcinogenic potency of and resulting cancer risks from Denka’s chloroprene emissions.

Denka’s new discovery will presumably again focus on the same topics its February requests

revolved around: the Clean Air Act Final Rule, the earlier non-final proposed rule, and the two

additional depositions that Judge North already denied as “unnecessary.” See id. and Ex. A at

48, ln. 17-18; Tr. of July 17, 2024 Status Hr’g (Denka’s counsel’s explanation that its new

discovery requests will go “directly to the rule”); see also Dec. 12, 2023 Order (denying Denka’s

motion to compel) (ECF No. 129). These discovery requests are neither relevant nor

proportional to Denka’s need to establish defenses to the government’s public health

endangerment claim or to prove up its amended counterclaim in this case. See Fed. R. Civ. P.

26(b)(1) (court must consider “the importance of the discovery in resolving the issues”).

       Furthermore, Denka’s now-ubiquitous claim that its third round of discovery will be

“targeted” or “limited” is meaningless. See July 10 Joint Status Report at 5 (last paragraph); Ex.

A at 48, ln. 13-19. Denka has used these go-to labels for each round of its expansive discovery

requests since this case began. See, e.g., Denka’s Mot. for Partial Am. of Scheduling Order at 1

(ECF No. 171) (seeking “targeted discovery”); Denka’s Mot. for Two Additional Depos. of

Limited Scope and Duration (ECF No. 113) (denied by Judge North) (emphasis added); Joint

Proposed Scheduling Order at 3 (Denka’s reservation to submit additional “limited” written

discovery requests); Denka’s Mot. for Expedited Disc. (ECF No. 28) (requesting “targeted”

written discovery).

       In reality, Denka’s discovery requests have spanned more than 110 document custodians




                                                 7
located in no fewer than six EPA offices in Dallas, Texas, Research Triangle Park, North

Carolina, and Washington, D.C. See Ex. B, Decl. of Stephen D’Alessio ¶ 4. Denka received

almost 30,000 documents, totaling over half-a-million pages, from the EPA on topics ranging

from the detailed evidence supporting the government’s endangerment claim, to the specific

scientific choices the EPA made in developing the 2010 IRIS Assessment, to information about

Clean Air Act regulations (including regulations about air pollutants besides chloroprene), to

grants issued by the EPA to Louisiana state agencies, to EPA civil rights investigations. See id.;

see also Ex. C, excerpts of Denka’s Three Sets of Production Requests. Denka has taken

depositions of the United States’ experts and other witnesses; in some cases twice. Denka’s

“limited” discovery in this case also included issuing subpoenas seeking information from,

among other individuals, the author of a law review article Denka perceived as critical. See Ex.

D (.pdf pg. 11) (Exhibit A, § II(1) to subpoena to Maryum Jordan).

       Because the underlying scientific facts in this case have not changed, there is no need for

additional discovery or extended date ranges on already completed discovery requests.

Allowing Denka more discovery will only lead to further, unnecessary delay.

                                          CONCLUSION

       For these reasons, the United States respectfully requests that the Court grant the United

States’ motion, reopen the case, and set this matter for a status hearing at the Court’s earliest

convenience for the purpose of setting a pretrial schedule and trial date.




                                                  8
Dated: September 17, 2024                Respectfully submitted,


                                         FOR THE UNITED STATES OF AMERICA

                                         TODD KIM
                                         Assistant Attorney General
                                         Environment and Natural Resources Division
                                         United States Department of Justice

                                              s/ Steven D. Shermer
                    Trial Attorney:      STEVEN D. SHERMER
                                         Senior Attorney
                                         District of Columbia Bar No. 486394
                                         DAVIS H. FORSYTHE
                                         DANIEL S. SMITH
                                         Senior Counsel
                                         HANNAH L. FRAZIER
                                         JONAH M. SELIGMAN (LA Bar # 38890)
                                         Trial Attorneys
                                         Environmental Enforcement Section
                                         Environment and Natural Resources Division
                                         United States Department of Justice
                                         P.O. Box 7611
                                         Washington, DC 20044-7611
                                         (202) 514-1134
                                         Steven.Shermer@usdoj.gov

OF COUNSEL:

JUSTIN LANNEN
Assistant Regional Counsel
U.S. Environmental Protection Agency, Region 6
1201 Elm Street, Suite 500 (ORCEA)
Dallas, TX 75270




                                            9
